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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

UNITED STATES OF AMERICA

     vs.                                   Criminal Action 2:17-cr-0054(1)
                                           JUDGE JAMES L. GRAHAM
ZA DARRICK J. BROOKS


                         REPORT AND RECOMMENDATION


     Defendant Za Darrick J. Brooks is charged in a Superseding
Indictment with one count of conspiracy to commit bank fraud in
violation of 18 U.S.C. § 1349 (Count 1); and two counts of bank fraud
in violation of 18 U.S.C. §§ 1343, 2 (Counts 3 and 5). The Superseding
Indictment also contains a forfeiture provision. The United States and
defendant entered into a plea agreement, executed pursuant to the
provisions of Rule 11(c)(1)(A) of the Federal Rules of Criminal
Procedure, whereby defendant agreed to enter a plea of guilty to
Counts 1 and 5.1   On January 10, 2018, defendant, accompanied by his
counsel, appeared for a change of plea proceeding.         Defendant
consented, pursuant to 28 U.S.C. §636(b)(3), to enter a guilty plea
before a Magistrate Judge.     See United States v. Cukaj, 2001 WL
1587410 at *1 (6th Cir. 2001) [Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed]; United States v. Torres,
258 F.3d 791, 796 (8th Cir. 2001); United States v. Dees, 125 F.3d 261,




     1
       The Plea Agreement, ECF No. 128, includes a restitution obligation in
an amount to be determined by the Court, and an appellate waiver provision,
which preserves only certain claims for appeal but which does not limit
defendant’s ability to pursue a claim under 28 U.S.C. § 2255. The parties
agreed at the plea proceeding that, under the Plea Agreement, defendant will
not contest the Government’s efforts to obtain a forfeiture money judgment.


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263-69 (5th Cir. 1997); United States v. Ciapponi, 77 F.3d 1247, 1251
(10th Cir. 1996).
        During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty pleas, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics or alcohol.
        Prior to accepting defendant’s pleas, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.     Based on the observations of the undersigned, defendant
understands the nature and meaning of the charges in the Superseding
Indictment and the consequences of his pleas of guilty to Counts 1 and
5.    Defendant was also addressed personally and in open court and
advised of each of the rights referred to in Rule 11 of the Federal
Rules of Criminal Procedure.
        Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s pleas are voluntary.            Defendant
acknowledged that the plea agreement signed by him, his attorney and
the attorney for the United States and filed on December 4, 2017,
represents the only promises made by anyone regarding the charges in
the Superseding Indictment.        Defendant was advised that the District
Judge may accept or reject the plea agreement and that, even if the
Court refuses to accept any provision of the plea agreement not
binding on the Court, defendant may nevertheless not withdraw his
guilty plea.
        Defendant confirmed the accuracy of the statement of facts
supporting the charges, which is attached to the Plea Agreement.2              He
confirmed that he is pleading guilty to Counts 1 and 5 of the
Superseding Indictment because he is in fact guilty of the offenses




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       Although the Statement of Facts, as filed, is unsigned, defendant
ratified that statement at the plea proceeding.
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charged in Counts 1 and 5.     The Court concludes that there is a
factual basis for the pleas.
     The Court concludes that defendant’s pleas of guilty to Counts 1
and 5 of the Superseding Indictment are knowingly and voluntarily made
with understanding of the nature and meaning of the charges and of the
consequences of the pleas.
     It is therefore RECOMMENDED that defendant’s guilty pleas to
Counts 1 and 5 of the Superseding Indictment be accepted.          Decision on
acceptance or rejection of the plea agreement was deferred for
consideration by the District Judge after the preparation of a
presentence investigation report.
     In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.         Objections to the
presentence report must be made in accordance with the rules of this
Court.


     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.            28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.   F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See Thomas v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Federation of


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Teachers, Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States
v. Walters,   638 F.2d 947 (6th Cir. 1981).




January 10, 2018                                s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge
